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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

JAMES WHORTON, JR.                              §
    Plaintiff                                   §
                                                §
vs.                                             §     Civil Action No. 2:18-CV-00033-JRG
                                                §
ARKANSAS UTILITY PROTECTION                     §
SERVICES, INC. and TYLOR RAY                    §
DODDS                                           §
     Defendants                                 §

                                           ORDER
       Before the Court is Plaintiff’s Unopposed Motion for Dismissal (“Motion”).

(Dkt. No. 30.)        All matters between Plaintiff and Defendants asserted in the above-

captioned case have been fully settled and resolved.             As such, Plaintiff moves to

dismiss with prejudice all claims asserted between the parties.                Defendants do not

oppose the Motion.
    .
      Having considered the Motion, the Court is of the opinion that it should be and

hereby is GRANTED.           It is therefore ORDERED that all claims asserted between

the Plaintiff   and     Defendants   in   the       above-captioned   case     are   DISMISSED

WITH PREJUDICE.             It is further ORDERED that all attorney fees, costs, and

expenses are to be borne by the party that incurred them.                    All pending requests

for relief not previously addressed by the Court are DENIED AS MOOT. The Clerk

is DIRECTED TO CLOSE the above-mentioned case.
       SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 7th day of January, 2019.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE
